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                                   Plaintiff’s YouTube Videos Related to the Seventh Judicial District

      Date   Title of Video                                                               Video Link
11/23/2023   There are lawless thugs among us, they are called judges                     https://www.youtube.com/watch?v=ZcD0fFJ9lt8
11/13/2023   Government Creates Problems So They Have Problems to solve                   https://www.youtube.com/watch?v=psdf9iEqXyI
11/13/2023   Fred checking on status of court proceedings                                 https://www.youtube.com/watch?v=UYO2LYmcuBI
 11/8/2023   Trying To Talk To The Sheriff Again                                          https://www.youtube.com/watch?v=E2YpHadolYM
             Picking Up Papers, Court Still Retaliating Against Me For Exposing
 11/1/2023   Gordon Bennet                                                                https://www.youtube.com/watch?v=QUhGqPBXzF4
             Torrance County Sheriff "open door policy" For Compliments Only, No
 11/1/2023   Criticism                                                                    https://www.youtube.com/watch?v=wd5Kzy6xnnI
             District 7 Court Is Out Of Control Still And Sheriff's "Open Door Policy"
10/31/2023   = Locked Door                                                                https://www.youtube.com/watch?v=krTXlwzlKbw
             More Torrance County And Mountainair New Mexico Government
10/24/2023   Drama                                                                        https://www.youtube.com/watch?v=qYaZ3v3o6KQ
10/23/2023   Lawsuit against dirty judges is in the 10th circuit of appeals               https://www.youtube.com/watch?v=KuH6OMvth8w
             I'm suing the Court for rights violations, but they just gave me the offer
 8/30/2023   of a lifetime…                                                               https://www.youtube.com/watch?v=Jn1lb58AFdA
 8/22/2023   Court Tries Everything To Stop The First Amendment                           No longer available on YouTube
 6/12/2023   Judge Recused Herself, Hearing To Try Me For Contempt Was Vacated            https://www.youtube.com/watch?v=9gVmq1wHWRY
  6/9/2023   Come To Estancia NM June 16th. STOP IT SUSAN!                                https://www.youtube.com/watch?v=f0Zc2m2wLcY
             Susan Rossignol and Judge Mercedes Murphy are a threat to a Law
  6/8/2023   abiding civilized society                                                    https://www.youtube.com/watch?v=w8wW_Mwfrug
  6/8/2023   Susan Rossignol still won't obey the law                                     https://www.youtube.com/watch?v=MzrvNN1YpQI
  6/2/2023   7th judicial court had an emergency                                          No longer available on YouTube
 5/26/2023   Court Clerk Gets Super Wierd, Then Calls The Cops                            https://www.youtube.com/watch?v=d-lFYUWxXoA
                                                                                          https://www.youtube.com/shorts/HAh-9kQpq6A
 5/26/2023 Court Clerk Tries to force an Escort On Me                                     (marked private)
 5/26/2023 Judge really thinks cussing is illegal                                         https://www.youtube.com/shorts/qyYD7cTFjkY
  4/6/2023 Back at Court For Official Business                                            https://www.youtube.com/watch?v=ulNWsxMCWqE
  4/6/2023 7th judicial court Says No Recording your own business with the court          https://www.youtube.com/watch?v=MzY_DgyWCCE
           Applying to work in organized crime - Riley is a good man with the
 3/31/2023 patience of a saint 🤣                                                          https://www.youtube.com/watch?v=GIxg7LPG1Es



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3/31/2023   7th Judicial District Court WON'T STOP BEING STUPID!                       https://www.youtube.com/watch?v=HLLluFrnlpc
3/24/2023   Woman Arrested In 2023 For Not Wearing Mask - HELP US END THIS             No longer available on YouTube
3/24/2023   Woman Arrested For No Mask In 2023, Confronting Judge Craig Davis          No longer available on YouTube
3/22/2023   Sheriff promises to be constitutional. Is he a politician?                 https://www.youtube.com/watch?v=xmKC_9buIug
3/22/2023   Woman arrested for no mask has been released                               https://www.youtube.com/watch?v=V2hqx2IXErM
            Coward Sheriff David Frazee Shows His True Colors When There's No
3/22/2023   Cameras                                                                    https://www.youtube.com/watch?v=i4yic8XIB3k
 3/1/2023   Court Retaliated Against Me for YOU exercising Rights                      https://www.youtube.com/watch?v=DkALoekXxWQ
            Pt. 2 - Court Claims It's 1 Year In Prison For Cussing In A Text Message
2/21/2023   - Gordon Bennett                                                           https://www.youtube.com/watch?v=Kli31IfmuTE
            Sheriff And Deputies Stand Up Against Bad New Mexico Judiciary -
2/20/2023   Gordon Bennett                                                             https://www.youtube.com/watch?v=KZ-EhXuOZNM
            Caught In A Bald Faced Lie By A Camera In His Own Court Room -
2/16/2023   Dishonorable Gordon Bennett                                                https://www.youtube.com/watch?v=uuUvl-P2WLo
 2/1/2023   standing for a deputy that stood for us                                    https://www.youtube.com/watch?v=-TtKhNEs6Q8
            Full Body Cam, Man In Black Dress Orders Woman Arrested For No
 1/1/2023   Mask, Sheriff Deputies Obey                                                No longer available on YouTube
